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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIA
                                 ORLANDO DIVISION

  JENNIFER SMITH,

                   Plaintiff,

  v.                                         CASE NO: 6:24-cv-00457-PGB-RMN

  FLORIDA AGRICULTURAL &
  MECHANICAL UNIVERSITY
  BOARD OF TRUSTEES,

             Defendant.
  _________________________________/

               MOTION TO STRIKE SECOND AMENDED COMPLAINTS

             Defendant Florida Agricultural and Mechanical University Board of Trustees

  (“University”) by and through its undersigned counsel hereby moves to strike

  Plaintiff’s Second Amended Complaint and Corrected Second Amended Complaint

  and states:

       I.       Relief Sought

             The University asks that this Court render an Order striking Plaintiff’s Second

  Amended Complaint and Corrected Second Amended Complaint. [Docs. 81, 84].

  They are impermissible amended pleadings filed without leave of court or consent.

       II.      Basis for Relief

             The Second Amended Complaint [Doc. 81] and Corrected Second Amended

  Complaint [Doc. 84] vary significantly from Plaintiff’s proposed Second Amended

  Complaint. [Doc. 72-1]. They are amended complaints or replies filed without leave
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  in violation of Fed. R. Civ. P. 15(a)(2) and Fla. M.D. Loc. R. 3.01(g).

        Plaintiff has filed four versions of a Second Amended Complaint. The versions

  of the Second Amended Complaints are summarized below:

 Document           Pleading                          Word                   Date filed
                                                      Count
 Document 65-1      Proposed Second Amended Complaint 8,755                  May 31, 2024
 Document 72-1      Second Proposed Second Amended 11,227                    June 18, 2024
                    Complaint
 Document 81        Third Second Amended Complaint    14,341                 July 8, 2024
 Document 84        Fourth Second Amended Complaint   14,342                 July 9, 2024

        Plaintiff filed neither of her proposed Second Amended Complaints as directed

  by the Court. [Docs. 65-1, 71, 72-1, 80, 81]. The Second Amended Complaint and

  Corrected Second Amended Complaint [Docs. 81, 84] are amended pleadings filed

  without leave of court in disregard of the Court’s Orders and the rules, causing

  prejudice to the University in its attempt to present a defense.

        III.   Background

        A visual chronology of filings is provided below as a framework for this motion.

   Doc. Pleading                                                            Date filed
   65-1 Proposed Second Amended Complaint                                   May 31, 2024
   71   Order (granting “Plaintiff leave to file an amended motion to       June 13, 2024
        amend the Complaint solely to attach a copy of the proposed
        amendment as an exhibit.”)
   72   Plaintiff’s Amended Motion . . . for Leave to File an Amended       June 18, 2024
        Complaint and Add Parties
   72-1 Second Proposed Second Amended Complaint                            June 18, 2024
   74   Defendant’s Response to Plaintiff’s Amended Motion . . . for        June 21, 2024
        Leave to File an Amended Complaint and Add Parties
   80   Order (granting “Plaintiff’s request to amend the First             July 3, 2024
        Amended Complaint” on or before July 8, 2024)
   81   Third Second Amended Complaint                                      July 8, 2024
   84   Fourth Corrected Second Amended Complaint                           July 9, 2024

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         Plaintiff filed an Amended Complaint prior to removal of this action. [Doc. 1-

  1]. On May 20, 2024, Plaintiff moved for leave to file a Second Amended Complaint

  to add new claims and defendants. [Doc. 54]. The University countered that leave to

  amend should be denied in the absence of a proposed Second Amended Complaint.

  [Doc. 59]. On May 31, 2024, Plaintiff filed an “Amended 3.01G Certificate” attaching

  a proposed Second Amended Complaint. [Docs. 65, 65-1].

         On June 10, 2024, the University moved to strike the “Amended 3.01G

  Certificate,” as a reply filed without leave of court. [Doc. 69]. On June 13, 2024, the

  Court granted leave to Plaintiff to move to amend again. [Doc. 71]. “The Court grants

  Plaintiff leave to file an amended motion to amend the Complaint solely to attach a

  copy of the proposed amendment as an exhibit,” and “Plaintiff may file an amended

  motion to amend the Complaint consistent with the directives of this Order, on or

  before June 18, 2024. . .” [Emphasis added][Doc. 71, pp. 3 – 4].

         In disregard of the Order, on June 18, 2024, Plaintiff filed not the proposed

  Second Amended Complaint she had been granted leave to file, but a new one, adding

  nine (9) pages and 2,000 more words. [Docs. 72, 72-1]. Plaintiff attached the revised

  proposed Second Amended Complaint and represented that as her final draft. [Doc.

  72, p. 5, ¶2].

         On June 21, 2024, the University filed a timely Response to the Amended

  Motion to Amend, outlining defects of this proposed Second Amended Complaint.

  [Doc. 74].

         On July 3, 2024, the Court granted Plaintiff leave to file the proposed Second
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  Amended Complaint, noting that the arguments raised by the University could be

  raised in a motion to dismiss. [Doc. 80].

        On July 8, 2024, Plaintiff filed yet another heavily revised Second Amended

  Complaint, adding another 2,000 words and fifteen (15) pages, this time attempting to

  correct defects raised by the University in its Response. [Docs. 74, 81]. This was

  version three of the Second Amended Complaint and two versions beyond what

  Plaintiff had originally been authorized to propose. [Docs. 65-1, 71].

        On July 9, 2024, Plaintiff filed still another version entitled, “Corrected” Second

  Amended Complaint, representing that the only changes were paragraph numbers.

  [Docs. 83, 84]. Plaintiff did not file the proposed Second Amended Complaint she

  originally proposed [Doc. 65-1], nor the one she represented she would file. [Doc. 72-

  1]. Plaintiff filed two successive amended Second Amended Complaints without leave

  of court instead. [Docs. 81, 84].

     III.   Argument and Memorandum of Law

        Plaintiff has disregarded two Orders of this Court and circumvented the rules.

  She was directed to file Doc. 65-1 as her proposed Second Amended Complaint. [Doc.

  71]. Instead, she used the opportunity to redraft and propose another document,

  adding nine pages and over 2,000 words. She was granted leave to file another

  proposed document. [Doc. 80]. After learning of the defects in this version from the

  defense, Plaintiff seized yet a third opportunity and unfairly corrected her pleading.

        This has become a pattern. When the University objected to Plaintiff’s first

  motion to amend, providing authority that the proposed amended pleading must be
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  included, Plaintiff contrived an “Amended Certificate” with a proposed Second

  Amended Complaint in reply. [Doc. 65-1]. When Plaintiff was given leave to propose

  a second amendment, she created a second Second Amended Complaint, knowing that

  the Court had only granted three days to the University to respond. [Docs. 71, 72-1].

  When Plaintiff was given leave to file the Second Amended Complaint itself, she filed

  yet a third version which corrected substantive defects as outlined in the University’s

  Response. [Docs. 74, 81]. The fourth version, the “Corrected Second Amended

  Complaint,” made further changes. [Doc. 84].

        The changes are material in each successive iteration of the Second Amended

  Complaint, and the University has been compelled to respond to each one. The

  University was prepared to respond to Document 65-1 as directed on June 13, 2024.

  [Doc. 66]. On that date, however, the Court granted its Motion to Strike, directed

  Plaintiff to file the proposed Second Amended Complaint [Doc. 65-1], and gave the

  University three days thereafter to respond. [Doc. 71]. The University understood the

  Court’s short response time and was prepared to address the proposed Second

  Amended Complaint entered as Document 65-1 but instead was obliged to respond to

  a different pleading.

        The second Second Amended Complaint proposed by Plaintiff as Doc. 72-1 was

  significantly different.   Comparing Document 65-1 (the first Second Amended

  Complaint appended to the “Amended Certificate”) to the second Second Amended

  Complaint (Document 72-1) in Adobe Acrobat showed 691 changes from the first

  Second Amended Complaint to the second Second Amended Complaint, including 409
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  replacements, 191 insertions, 91 deletions, and an additional 9 pages of text. [Docs.

  65-1, 72-1].

        The University nevertheless timely responded as directed, pointing out defects

  in the new Second Amended Complaint, filed as Document 72-1. [Doc. 74].

        Plaintiff represented in the Amended Motion to Amend that “the proposed

  Second Amended Complaint is attached.” [Doc. 72, p. 5, ¶2]. But Plaintiff did not file

  that version as leave was given to do. [Doc. 80]. Instead, Plaintiff used the University’s

  Response to create a third Second Amended Complaint. [Doc. 81].

        The University used Adobe Acrobat to compare the proposed Second Amended

  Complaint to the filed Second Amended Complaint. [Docs. 72-1 and 81]. There were

  815 changes, including 579 replacements, 179 insertions, and an increase in page count

  from 51 to 66 pages. [Docs. 72-1, 81]. Reducing that number by the clerk’s page

  headings on 66 pages still yields in excess of 500 changes. [Docs. 72-1, 81]. The

  changes include adding Sarah Reiner as a defendant in paragraph 14, and additions

  to, among others, paragraphs 6 – 10, 21, 24, 25, 29, 45, 50, 51, 68, 71 - 74, 77, 80, 83,

  86, 87, 93, 100, 102, 103, 113, 121, 122, 128, 148, 149, 154, 158, 159, 160, 163, 166,

  168, 181, 190, 193, 194, 195, 197, 201, 203, 206 - 209, 215, 216, 219 - 221, and 224 -

  227, along with footnotes added to pages 24, 38, 39, 40, and 44.

        The filed Second Amended Complaint is an amended pleading filed without

  leave or consent in violation of Fed. R. Civ. P. 15(a)(2), and another impermissible

  reply in violation of Fla. M.D. Loc. R. 3.01(g).


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        Moreover, the changes between the proposed Second Amended Complaint and

  the filed Second Amended Complaint reflect that Plaintiff made the changes in reply

  to the University’s Response. [Doc 74]. For example, the University argued that the

  proposed Second Amended Complaint preserved the immunity of the University

  employees since it lacked any allegation that they acted outside the role and scope of

  their employment. [Doc. 74, p. 17]. Plaintiff corrected this error by adding that

  language. [Docs. 81, 84, ¶¶6, 7, 8, 9, 10, 215, 220]. The University argued that the

  Equal Pay Act claim was defective. Plaintiff accordingly added to paragraph 29.

  [Docs. 81, 84]. The University pointed out that an allegation of racial or class animus

  was required to support the 42 U.S.C. §1985 conspiracy claim. [Doc. 74, p. 15].

  Plaintiff amended paragraph 194. Plaintiff also heeded the University’s critique that

  the proposed retaliation claim lacked any allegation of causation. [Docs. 72-1, 74].

  She fixed that in paragraph 159. [See, Doc. 74, p. 11 compared to Doc. 84, pp. 45-46].

        Unfettered by the Orders of this Court, the rules, or notions of fair play, on July

  9, 2024, Plaintiff next filed a “Corrected” Second Amended Complaint, another

  amendment filed without leave or consent. [Doc. 84]. Plaintiff represented to the

  Court that the only changes were paragraph numbers. [Doc. 83].                However,

  comparison of the first filed Second Amended Complaint to the Corrected Second

  Amended Complaint shows that no actual paragraph numbers were changed. [Docs.

  81, 84]. Plaintiff changed the reincorporated allegations in paragraphs 150, 156, 161,

  169, 177, 184, 191, 198, 210, and 222. [Docs. 81, 84]. This is not correcting a

  scrivener’s error. These are substantive changes in the allegations of each count, not
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  typos. A scrivener’s error is “a drafter's or typist's technical error that can be rectified

  without serious doubt about the correct reading.” North Brevard Hospital District v.

  McKesson Technologies, Inc., 2017 WL 11667659, at *7 (M.D. Fla. Oct. 10, 2017),

  quoting Black’s Law Dictionary 659 (10th ed. 2014). Plaintiff changed the substance

  of the allegations in every Count of the Corrected Second Amended Complaint by

  incorporating different paragraphs, again, without leave of court. There was a change

  in language on the bottom of page two going to page three as well. The Corrected

  Second Amended Complaint is a successive amended complaint filed without leave in

  violation of Fla. M.D. Loc. R. 3.01(d), and Federal Rule 15. Hill Dermaceuticals, Inc.

  v. Anthem, Inc., 2016 WL 7157530, at *3 (M.D. Fla. Dec. 8, 2016).

         Plaintiff was directed to file a motion to amend attaching Document 65-1 as her

  proposed Second Amended Complaint. [Doc. 71]. She disregarded that and then

  represented to the Court and the University in her Amended Motion to Amend that

  she would file a certain proposed Second Amended Complaint. [Doc. 72, 72-1].

  Leave was granted to file that version. [Doc. 80]. But, with the benefit of the

  University’s instruction, Plaintiff instead filed a completely revised Second Amended

  Complaint, using the defense’s Response as a tutorial. [Docs. 74, 81]. Plaintiff then

  filed a Corrected Second Amended Complaint under false pretenses. [Docs. 83, 84].

         The Second Amended Complaint and Corrected Second Amended Complaint

  should be stricken. “Because Plaintiff's Amended Complaint for Damages (Doc. 12),

  Plaintiff's Corrected Amended Complaint for Damages (Doc. 15), and Plaintiff's

  Second Corrected Amended Complaint for Damages (Doc. 19) were filed without
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  leave of Court or the opposing party's consent, these documents are due to be stricken.”

  Kandah v. Dillard's, Inc., 2020 WL 13801940, at *1 (M.D. Fla. Jul. 1, 2020).

        Further, the new motion to amend must contain a memorandum of legal
        authority as required under Local Rule 3.01(a) and must include, as an
        attachment, the proposed amended pleading. See Long v. Satz, 181 F.3d
        1275, 1279 (11th Cir. 1999) (“A motion for leave to amend should either
        set forth the substance of the proposed amendment or attach a copy of
        the proposed amendment.”); see also McGinley v. Fla. Dep't of Highway
        Safety & Motor Vehicles, 438 F. App'x 754, 757 (11th Cir. 2011) (affirming
        denial of leave to amend where plaintiff did not set forth the substance of
        the proposed amendment); United States ex. rel. Atkins v. McInteer, 470 F.
        3d 1350, 1361-62 (11th Cir. 2006) (same).

  Kandah, at *1.

        Amendment of pleadings may be made only by motion. The substance of the

  proposed amendment, or a proposed amended complaint must be included with the

  motion to amend a pleading. See, Urquilla–Diaz v. Kaplan Univ., 780 F.3d 1039, 1057

  n. 14 (11th Cir. 2015); (“[I]f a plaintiff wants to amend his complaint he ‘must either

  attach a copy of the proposed amendment to the motion or set forth the substance

  thereof.’”). See, also, N.D. Fla. Loc. R. 15.1; S.D. Fla. Loc. R. 15.1; and Fla. R. Civ.

  P. 1.190(a).

        A motion for leave to amend filed pursuant to Rule 15 “should either set
        forth the substance of the proposed amendment or attach a copy of the
        proposed amendment.” Rance v. Winn, 287 F. App'x 840, 841 (11th Cir.
        2008) (citing Long v. Satz, 181 F.3d 1275, 1279 (11th Cir. 1999)). This
        enables the Court to “assess the viability of the proposed amendment.”
        Farrell v. G.M.A.C., No. 2:07-cv-817-FtM-34DNF, 2008 WL 1766909, at
        *1 (M.D. Fla. 2008); See Sure Fill & Seal, Inc. v. GFF, Inc., No. 8:08-cv-
        00882-T-17-TGW, 2009 WL 1751726, at *2 (M.D. Fla. June 17, 2009).

  Williams v. Orlando Family Physicians, LLC, 2017 WL 11037515, at *1 (M.D. Fla.,
  2017).

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        It logically follows that the proposed amended pleading submitted with the

  motion to amend is therefore the one that must be filed when leave is granted. This

  Court recognized that fundamental principle when it observed that a motion to dismiss

  could raise the issues argued by the University in its Response. [Docs. 74, 80]. The

  Court’s comment makes no sense otherwise. Further, the University is now prejudiced

  in raising its defenses. Plaintiff cannot be allowed to disregard Orders of this Court

  and the rules of civil procedure.

        The Second Amended Complaint that this Court granted leave to request was

  Document 65-1, and Plaintiff was granted leave to file Document 72-1, which was, in

  effect, a THIRD amended complaint. [Doc. 71]. The Second Amended Complaints

  filed as Documents 81 and 84 are without question amended pleadings and/or replies

  filed without motion or leave in violation of Fed. R. Civ. P 15(a)(2) and Fla. M.D. Loc

  R. 3.01(g) and therefore should be stricken.

        WHEREFORE, Defendant Florida Agricultural and Mechanical University

  Board of Trustees respectfully requests the Court render an Order striking the Second

  Amended Complaint and Corrected Second Amended Complaint [Docs. 81, 84] and

  granting such other relief as it shall deem proper.

                       LOCAL RULE 3.01(g) CERTIFICATION
       I hereby certify that the movant conferred with the opposing party on July 10,

  2024 on the resolution of all or part of the motion, the motion is opposed, and the

  means by which the conference occurred was by telephone.



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                             CERTIFICATE OF SERVICE


                I HEREBY CERTIFY that on this 17th day of July, 2024, I electronically
  filed the foregoing with the Clerk of the Court by using the CM/ECF system which
  will send a notice of electronic filing to all registered users and counsel in this case.

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